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                 IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF TENNESSEE
                             EASTERN DIVISION
______________________________________________________________________________

ROBERT HOLMAN,                            )
                                          )
       Plaintiff,                         )
                                          )
v.                                        )     No. 1:21-cv-01085-STA-jay
                                          )
THOMAS J. VILSACK, in his official        )
capacity as Secretary of Agriculture;     )
and ZACH DUCHENEAUX, in his official      )
capacity as Administrator of the Farm     )
Service Agency,                           )
                                          )
       Defendants.                        )

______________________________________________________________________________

    DEFENDANTS’ MOTION FOR RECONSIDERATION OF STAY DECISION
      OR TO STAY DISCOVERY AND OTHER CASE DEADLINES PENDING
                   RESOLUTION OF MOTION TO DISMISS
______________________________________________________________________________
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                                         INTRODUCTION

        The legal and factual landscape has changed significantly since this Court denied the

Government’s motion to stay the proceedings in this case, and the Court’s primary bases for doing so

no longer apply. See Defs.’ Stay Mot., ECF No. 45. The Government thus respectfully requests that

the Court reconsider and reverse that decision and stay proceedings in this case as it did in Joyner.

        First, since denying the Government’s stay motion here, this Court granted the Government’s

stay motion in Joyner, a case raising an identical challenge to § 1005, because the plaintiff is a member

of the class action in the Northern District of Texas certified under Federal Rule of Civil Procedure

Rule 23(b)(2), see Class Cert. & PI Order, ECF No. 60, Miller v. Vilsack, No. 4:21-cv-595 (N.D. Tex.).

Joyner v. Vilsack, 1:21-cv-1089 (W.D. Tenn.), Order (Aug. 19, 2021), ECF No. 21. On that basis, among

others, this Court held that continuing litigation in this court, concurrently with the class action, would

waste judicial resources and not benefit the plaintiff, whose interests were being adequately

represented in the class action and who is protected by overlapping preliminary injunctions in the

meantime. That conclusion applies equally to Plaintiff in this case, who does not dispute that he is a

member of the certified classes. Indeed, largely for that reason, all six courts to have resolved

Defendants’ similar stay motions have issued stays pending resolution of the Miller class action. Infra

Background II.

        Second, the Miller court recently issued an order confirming that the Rule 23(b)(2) classes

certified there afford members no opportunity to opt out. Miller, Order Denying Opt Out, ECF No.

100 (attached as Ex. A). That order clarifies that Plaintiff here may not opt out of the Miller class

action—contrary to his prior assertion that he might seek to do so—and that his interests thus will

not go unrepresented. And the order resolves any question whether Plaintiff will “necessarily be bound

by [the] judgment” entered by the Miller court with respect to the classes to which he belongs. Pl.’s

Opp’n to Stay 13 n.2, ECF No. 48. He will. And so will the Government. The Miller order thus



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underscores the fact that allowing Plaintiff to continue litigation individually will be unnecessarily

duplicative and risk placing inconsistent obligations on Plaintiff and the Government if the courts’

judgments conflict.

          Third, the Court in Miller recently issued a scheduling order, thus addressing any concerns

expressed in the Court’s stay denial over delayed resolution of Plaintiff’s claim. Plaintiff, who is

adequately represented by class counsel in Miller, will have his claim adjudicated expeditiously in that

case.

         Fourth and finally, Defendants have moved to dismiss the only claims distinguishing this case

from Joyner and Miller, Plaintiff’s “debt forgiveness” claims at counts two and three of the Complaint.

See Motion to Dismiss, ECF No. 57. The Court had noted in its stay order that those claims might

remain unadjudicated if the action here is stayed. But resolution of the equal protection challenge to

§ 1005 in Miller could moot Plaintiff’s ancillary claims. And in any event, as Defendants’ motion to

dismiss shows, the Court lacks subject-matter jurisdiction over Plaintiff’s additional claims, and they

otherwise fail to state a claim. Without those claims at issue, there is no distinction between Joyner and

this case warranting a stay there but not here.

         Based on these new facts and legal developments occurring since August 2, Defendants

respectfully submit that the Court should reconsider its prior stay order and stay this case pending

resolution of the certified class action. Alternatively, if the Court is not inclined at this time to issue a

stay pending resolution of the class action, it should stay discovery and defer entry of case deadlines

until after it resolves Defendants’ jurisdictional motion to dismiss Plaintiff’s “debt forgiveness” claims.

Courts in this district often exercise their discretion to stay discovery pending dispositive motions—

especially those challenging a court’s jurisdiction. A stay of discovery on those claims accords with

various courts’ recognition that jurisdiction is a threshold issue that must be addressed before all else.

But a stay of discovery on the only other claim in this case—Plaintiff’s equal protection challenge to



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§ 1005—is likewise warranted while the Court considers the motion to dismiss. That § 1005 claim is

already being litigated in Miller on Plaintiff’s behalf (and along a similar timeline as would apply here).

        Thus, as explained further below, Defendants respectfully request that that Court reconsider

its prior denial of a stay in this case and stay proceedings pending resolution of the class action in

Miller. But if the Court is not inclined to stay the case entirely at this time, it should instead stay

discovery and defer entering a scheduling order until after it resolves Defendants’ motion to dismiss.

And while the stay of discovery should extend to all claims raised in this case, at a minimum the Court

should stay discovery on Plaintiff’s “debt forgiveness” claims at issue in the motion to dismiss.

                                           BACKGROUND

I.      The Court’s August 2, 2021 Order Denying Defendants’ Stay Motion

        On July 1, 2021, the Northern District of Texas certified two classes under Rule 23(b)(2) that,

like Plaintiff here, challenge § 1005 on equal protection grounds. See Miller, Class Cert. & PI Order,

ECF No. 60. The court simultaneously issued a class-wide preliminary injunction that enjoins

disbursement of § 1005 funds. Id. Plaintiff does not dispute that he is a member of the certified classes.

See generally Pl.’s Opp’n to Stay (Pl.’s Opp’n”), ECF No. 48.

        Less than one week after the Miller court’s order, this Court entered a preliminary injunction

that likewise enjoins disbursement of § 1005 funds. PI Order, ECF No. 41. Shortly thereafter,

Defendants moved to stay this case and all other cases (save one 1) around the country where plaintiffs

have brought virtually identical equal protection challenges to § 1005. 2 Defs.’ Stay Mot., ECF No. 45.




1
  In the one case where Defendants did not move for a stay, the parties filed a stipulation to stay the
case so long as the plaintiff remains a member of the classes certified in Miller. Nuest v. Vilsack, No.
21-cv-1572 (D. Minn.), ECF No. 19.
2
  This case is one of twelve cases nationwide challenging § 1005 on equal protection grounds and
seeking declaratory and injunctive relief.


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        Defendants’ motion to stay primarily argued that: (1) continuing litigation in this Court would

be duplicative of the litigation in the Northern District of Texas and risk inconsistent results, because

Plaintiff is a member of the mandatory classes certified in that court under Rule 23(b)(2) asserting the

same equal protection challenge as Plaintiff, Defs.’ Stay Mot. 6-8; (2) because the Rule 23(b)(2) classes

afford no opportunity to opt-out, Plaintiff (and Defendants) will be bound by the relief granted in that

case should the class plaintiffs prevail on their claim, id.; (3) a stay will promote judicial efficiency and

conserve government resources, id. at 6-9; and (4) courts routinely grant stays pending resolution of a

related class action to avoid duplicative litigation, id. at 9-12.

        Plaintiff responded in opposition to the stay motion on July 28, Pl.’s Opp’n to Stay, ECF No.

48. Six days later, on August 2, this Court issued its order denying the stay. Stay Order, ECF No. 49.

        The Court denied Defendants’ stay motion on three primary bases. First, the Court concluded

that the Sixth Circuit’s decision in Vitolo v. Guzman, 999 F.3d 353 (6th Cir. 2021), 3 is binding on this

Court whereas it is not binding in Miller. Stay Order at 2. Second, the Court agreed with Plaintiff that

he would have no say in the pace or strategy used in the Miller litigation and concluded that Plaintiff’s

interests may not be completely aligned with the class plaintiffs’ interests in Miller. Id. at 3. The Court

noted that Plaintiff here brings two additional claims to the § 1005 challenge in Miller, which concern

USDA’s loan-making authority. Id. Finally, the Court reasoned that “Plaintiff may choose to opt out

of the Miller classes,” Stay Order at 3, as his opposition to Defendants’ stay motion had suggested,

Pl.’s Opp’n at 13 n.2, and that could “leav[e] his interest unrepresented,” Stay Order at 3. The Order

did not address Defendants’ argument that Plaintiff is a member of the classes certified in Miller under

Rule 23(b)(2), which provides no opportunity to opt out.




3
 As Defendants explained in their opposition to Plaintiff’s motion for a preliminary injunction, Vitolo
concerned a different remedial measure applicable to a different agency. Defs.’ PI Opp’n 13-14, ECF
No. 28-1.


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II.     Stay Decisions in Six Other Cases

        This Court’s decision in Holman was the first to address Defendants’ arguments for a stay.

Meanwhile, litigation over Defendants’ motions to stay in nine other cases was ongoing. Six of those

motions have been decided—all in Defendants’ favor. See Joyner v. Vilsack, 1:21-cv-1089 (W.D. Tenn.),

Order (Aug. 19, 2021), ECF No. 21; Carpenter v. Vilsack, 21-cv-103-F (D. Wyo.), Order (Aug. 16,

2021), ECF No. 33; Faust v. Vilsack, 1:21-cv-548 (E.D. Wis.), Order (Aug. 23, 2021), ECF No. 66;

McKinney v. Vilsack, 2:21-cv-212 (E.D. Tex.), Order (Aug. 30, 2021), ECF No. 40; Tiegs v. Vilsack, 3:21-

cv-147 (D.N.D.), Order (Sept. 7, 2021), ECF No. 20; Dunlap v. Vilsack, 2:21-cv-942 (D. Or.), Order

(Sept. 21, 2021), ECF No. 42. In the three other cases, the motions remain pending, Wynn v. Vilsack,

3:21-cv-514 (M.D. Fla.); Rogers v. Vilsack, 1:21-cv-1779 (D. Colo.); Kent v. Vilsack, 3:21-cv-540 (S.D.

Ill.), and in one of those three cases, the court granted Defendants’ motion for an administrative stay

of case deadlines pending further order from the court, Kent, Minute Order, ECF No. 18. In the only

other case where litigation is ongoing, Defendants’ motion to stay, which was filed four days after the

court entered a scheduling order, is pending after recently becoming ripe for decision. 4 See Wynn, No.

3:21-cv-514, ECF Nos. 43, 44.

        The majority of those courts stayed proceedings in part because they recognized that the

respective plaintiffs would likely be unable to opt out of the mandatory (b)(2) classes that the Milller

Court certified. See Carpenter Order 5-6 (calling “speculative” a scenario in which the plaintiff would

be permitted to opt out of the Miller classes because “Rule 23(b)(2) classes are ‘mandatory classes’ with

no opt-out opportunity”) (quoting Wal-Mart, Inc. v. Dukes, 564 U.S. 338, 362 (2011)); Joyner Order 6

(citing same); Faust Order 2 (citing same); Tiegs Order 3 (citing same). In granting the stay motions,

the courts also rejected the plaintiffs’ arguments that they should be permitted to litigate their



4
 The Court in Wynn allowed Defendants to file a reply and Plaintiff to file a sur-reply, Wynn, ECF
No. 56, and the latter was filed on September 7, 2021, id., ECF No. 61.


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individual claims with their chosen counsel in their chosen fora on the grounds that, inter alia: (1) doing

so would waste judicial, party, and taxpayer resources, see Carpenter Order 9; Faust Order 2; Joyner Order

3; McKinney Order 4; Tiegs Order 6; Dunlap Order 4; (2) the Miller Court had determined that class

counsel will adequately represent the interests of all class members, see McKinney Order 4; Joyner Order

2-3; Dunlap Order 4; and (3) the plaintiffs could use procedural mechanisms, such as intervention or

amicus filings, to raise any concerns with class counsel, see McKinney Order 4; Joyner Order 2-3; Faust

Order 2.

III.     This Court’s August 19, 2021 Grant of Defendants’ Stay Motion in Joyner

         On August 19, 2021, this Court granted Defendants’ motion to stay in Joyner, where the

Plaintiff brings a challenge to § 1005 identical to Plaintiff challenge here. See Joyner Stay Order. Unlike

in this case, the Court granted Defendants leave to file a reply in support of their motion to stay, which

the plaintiff there did not oppose. Joyner, Defs.’ Mot. for Leave, ECF No. 16. The reply brief allowed

Defendants to address, among other things, “the Court’s conclusion in Holman that a plaintiff may

opt out of the Rule 23(b)(2) class.” Id. at 2.

         The Court issued its decision staying Joyner three days after Defendants filed their reply brief.

Joyner Stay Order. Its decision was based in part on the fact that the plaintiff is a member of the

certified class action in Miller: Indeed, the “[m]ost compelling[]” factor in favor of a stay, the Court

explained, was the fact that the plaintiff was a member of, and thus “bound by[,] the class certification

in Miller, which was certified under Rule 23(b)(2).” Joyner Stay Order 6. As the Court stated, “[t]he

Supreme Court has instructed that classes certified under Rule 23(b)(2) are mandatory, providing ‘no

opportunity’ for class members to opt out and not even requiring district courts to afford class

members notice of the certification.” Id. (quoting Wal-Mart, 564 U.S. at 361-62). The Court further

concluded that, because of the plaintiff’s membership in the certified classes, it would be a waste of




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judicial resources to continue litigation in this Court concurrently with Miller. Id. 5 And the Court also

noted that the plaintiff would not be prejudiced by the stay, because class counsel would adequately

represent his interests and Plaintiff could avail himself of intervention or other procedural tools should

he wish to try to “control[] the pace of the litigation and the legal theories employed[.]” Id. at 5. Thus,

the plaintiff would “not be deprived of ‘his day in court,’” as he asserted. Id. at 6. In the meantime,

the Court stated, the preliminary injunction in Holman would preserve Plaintiff’s interests. Id. at 4.

        Finally, the Court distinguished Joyner from Holman on the ground that Holman raises additional

claims concerning USDA’s authority to grant additional loans to farmers who receive § 1005 debt

relief that were not raised in Joyner or Miller. Id. at 4 n.1.

IV.     The Miller Court’s Denial of Various Plaintiffs’ Motion to Opt Out

        On September 3, 2021, plaintiffs in five cases pending in other jurisdictions moved to opt out

of the classes certified in Miller or for an amendment of the class certification order to exclude them.

Miller, Pl.’s Opt Out Mot., ECF No. 78. The Government opposed the motion. Miller, Def.’s Opp’n,

ECF No. 88. 6




5
  The Court found this conclusion was further underscored by the fact that Miller was the first-filed
case and therefore had “priority over” subsequently filed cases. The Court’s stay order in this case did
not address the first-filed rule, although Defendants relied on that as a basis for a stay here as well.
Plaintiff’s stay opposition argued that the first-filed rule should not apply because the Miller Court did
not have jurisdiction over the action filed there until the plaintiffs filed an amended complaint on the
same day this Plaintiff filed his Complaint. Pl.’s Opp’n at 15. But the propriety of the first court’s
jurisdiction “is never a condition precedent to applying” the first-filed rule. Cadle Co. v. Whataburger of
Alice, Inc., 174 F.3d 599, 605-06 (5th Cir. 1999) (citing cases from other circuits). “[T]he ‘chronology
of events’ factor” in the first-filed analysis “simply asks which of the two overlapping cases was filed
first.” Baatz v. Columbia Gas Transmission, LLC, 814 F.3d 785, 790 (citations omitted) (6th Cir. 2016)
(emphasis added); see also Carpenter Order 6 n.2 (rejecting a similar argument as “unpersuasive” and
holding that “[t]here is no dispute that jurisdiction vested first with the Miller court”).
6
  Although Plaintiff here had noted that he might move to opt out of the classes certified in Miller,
Pl.’s Opp’n to Stay 13 n.2, and this Court’s order denying Defendants’ stay motion cited that potential
as among the reasons to deny the stay, Stay Order 3, Plaintiff did not move to opt out.


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        Earlier this week, the Miller court denied that motion. Miller, Order Denying Opt Out, ECF

No. 100. The court observed at outset that the movants could not “explain how they could, as a

practical matter, be excluded for the certified classes.” Id. at 2. Indeed, the court continued, “no court

has permitted an opt out in these circumstances,” where the class “representatives sought purely

injunctive relief,” as they do in Miller. Id. at 3. And the court explained that the lack of precedent on

that score simply “underscore[d] the commentaries’ observations that” allowing opt out of a Rule

23(b)(2) class “‘would thwart the objectives of representative suits under’” that Rule. Id. at 3 (quoting

Charles Alan Wright & Arthur R. Miller, Federal Practice and Procedure § 1784.1 (3d ed.)). The court saw

no reason to conclude differently there. It held that allowing the movants to opt out, or otherwise

excluding them from the classes, “would undermine the very reasons the Court certified the classes”—

among them being the fact that “answering Plaintiffs’ substantive legal questions will provide a

common answer for all class members regarding issues of law,” and any relief granted “would apply

generally to the classes as a whole[.]” Id. at 4.

V.      Recent Procedural History in This Case

        When the Court issued its preliminary injunction order in July, it instructed the parties to meet

and confer and submit a joint proposed scheduling order within 14 days. PI Order 25, ECF No. 41.

Defendants filed their stay motion before the expiration of that 14-day time-period. At the same time,

Defendants requested an administrative stay of case deadlines pending resolution of the broader

motion to stay the case. Admin. Stay Mot., ECF No. 46. The Court granted in part and denied in part

the administrative-stay motion, declining to enter an administrative stay but continuing all case

deadlines, to “be re-set at a later date” pending resolution of the motion to stay the case. Admin. Stay

Order, ECF No. 47. After the Court denied Defendants’ stay motion on August 2, it again ordered

the parties to submit a joint proposed scheduling order within 14 days. Stay Order at 3-4. The Court

also set a scheduling conference for September 2, ECF No. 50, which it subsequently deferred to



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October 7, see August 25, 2021 Order, ECF No. 54. Before the scheduling conference, the parties

submitted competing proposed case schedules. Joint Proposed Schedule, ECF No. 51. A week before

the scheduling conference, on September 28, 2021, counsel for Plaintiff sent counsel for Defendants

initial discovery requests.

        At the October 7 scheduling conference, Counsel for the Government urged the Court to stay

this case for the reasons it articulated in Joyner, or, in the alternative, to defer setting a schedule pending

resolution of Defendants’ forthcoming jurisdictional motion to dismiss. The Court ordered the

Government to file its motion to dismiss by October 13, 2021, and stated that is would consider the

arguments for a stay in an appropriate written motion. It also ordered the parties to submit a new joint

proposed scheduling order that splits the difference between the dates provided in their previous

proposed schedules. Minute Order, ECF No. 56. Pursuant to the Court’s order, the Government filed

its motion to dismiss on October 13, 2021. It now files this motion for reconsideration. The parties

will also submit a joint proposed scheduling order, which the Government maintains the Court should

enter only if it denies this motion.

                                                ANALYSIS

I.      New Events Warrant Reconsideration of the Court’s Stay Decision and Entry of a Stay
        Pending Resolution of the Class Action in the Northern District of Texas.

        Events occurring since the Court denied Defendants’ stay motion on August 2 warrant

reconsideration of that decision and a stay of this case. “A district court has the inherent power to

reconsider, rescind, or modify an interlocutory order before entry of a final judgment.” Tyler v. Taco

Bell Corp., No. 2:15-cv-02084-JPM-cgc, 2016 WL 3162145, at *1 (W.D. Tenn. June 3, 2016) (citing

Leelanau Wine Cellars, Ltd. v. Black & Red, Inc., 118 F. App’x 942, 945-46 (6th Cir. 2004)). Under Federal

Rule of Civil Procedure 54(b), “any order . . . that adjudicates fewer than all the claims or the rights

and liabilities of fewer than all the parties . . . may be revised at any time before the entry of a judgment

adjudicating all the claims and all the parties’ rights and liabilities.” Hollis v. Dump Cable, Inc., No. 1:13-


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CV-01077-JDB-EGB, 2014 WL 12526725, at *2 (W.D. Tenn. Aug. 12, 2014). The Western District

of Tennessee requires that a motion for reconsideration show one of three elements:

        (1) a material difference in fact or law from that which was presented to the Court
        before entry of the interlocutory order for which revision is sought, and that in the
        exercise of reasonable diligence the party applying for revision did not know such fact
        or law at the time of the interlocutory order; or (2) the occurrence of new material
        facts or a change of law occurring after the time of such order; or (3) a manifest failure
        by the Court to consider material facts or dispositive legal arguments that were
        presented to the Court before such interlocutory order.

Hensley v. Methodist Healthcare Memphis, No. 13-2463-STA-cgc, 2014 WL 11514825, at *2 (W.D. Tenn.

Sept. 26, 2014) (quoting Local Rule 7.3). Additionally, Local Rule 7.3 prohibits a party from using a

motion for reconsideration to “repeat[] any oral or written argument made by the movant in support

of or in opposition to the interlocutory order that the party seeks to have revised.” Id. (quoting Local

Rule 7.3).

        There are several material differences in law and fact occurring after August 2 that warrant

reconsideration of the Court’s stay decision issued on that date. The first is this Court’s August 19

legal conclusion in the Joyner stay decision that the plaintiff was “bound by the class certification in

Miller, which was certified under Rule 23(b)(2)” and afforded Plaintiff no “[]ability to opt out.” Joyner

Order 6. The stay order in this case did not address the mandatory nature of the classes certified in

Miller, but the Court’s subsequent legal conclusion in Joyner applies equally to Plaintiff here. As in Joyner,

Plaintiff in this case does not dispute that he is a member of the certified classes raising an identical

§ 1005 equal protection claim. Accordingly, Joyner makes plain that Plaintiff’s claim is being litigated

simultaneously in two courts—as an individual in this court and as part of the class action in Texas—

which results in unnecessarily duplicative litigation and heightens the risk that he, and Defendants,

will be subject to inconsistent judgments on the same claim.

        Moreover, the opinion in Joyner shows that, because Plaintiff’s claim is being litigated on his

behalf in Miller, he will not be prejudiced by a stay. Indeed, Joyner credited “the Miller court’s finding



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that counsel for that class action ‘will adequately represent the interests of class members similarly

situated in zealously pursuing the requested relief.” See Joyner Order 5. The judicial system, on the other

hand, will be prejudiced by the “inefficient use of judicial resources to continue litigation in this court

while the Miller case is ongoing.” Joyner Order 6. These conclusions in this Court’s Joyner decision,

issued after the stay order here, warrant a stay of this case.

        Second, the Miller court’s recently-issued order denying some plaintiffs’ motion to opt out

further confirms Plaintiff’s “inability to opt out of the Miller class action.” Joyner Order 6. In opposing

Defendants’ Motion to Stay, Plaintiff suggested that he might move to opt out of the classes, and even

posited that not allowing him to opt out could raise due process concerns. Pl.’s Opp’n at 13 n.2. In

this Court’s decision denying a stay, the Court also reasoned that “Plaintiff may choose to opt out of

the Miller classes, thus leaving his interests unrepresented.” Stay Order 3. But the Miller decision

resolves any question about Plaintiff’s opt-out rights. Plaintiff has no ability to opt out of the class

action. Thus, Plaintiff’s interests will undoubtedly be represented, regardless of whether this litigation

proceeds. And it is undisputed that the judgment and relief entered in Miller will apply equally to

Plaintiff just as it applies to all other members of the classes to which he belongs. Miller, Order Denying

Opt Out at 4. Indeed, as the Miller decision explains, allowing Plaintiff to proceed here, separately

from the classes to which he belongs, would thwart the very purpose of Rule 23(b)(2) class

certification. Id. “The key to the (b)(2) class is the indivisible nature of the injunctive or declaratory

remedy warranted—the notion that the conduct is such that it can be enjoined or declared unlawful

only as to all of the class members or as to none of them.” Wal-Mart, 564 U.S. at 360. The Miller

decision clarifying Plaintiffs’ inability to opt out of that class action is another reason to revisit the

Court’s prior order and stay this litigation.

        Additionally, the court in Miller recently entered a scheduling order, see Miller, Scheduling

Order, ECF No. 85, that adopts deadlines in line with those to which the parties have agreed in this



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case (should the Court deny this Motion) and will be reflected in their joint proposed scheduling order.

The Miller scheduling order addresses one of the Court’s concerns in its stay denial that Plaintiff might

be prejudiced by any delays in the Miller litigation. Stay Order 3. The Miller court’s scheduling order

shows that the case is on track to be resolved expeditiously, on pace with the litigation schedule that

would govern litigation in this Court. Accordingly, this new development likewise weighs in favor of

staying this case. Meanwhile, Plaintiff’s interests are protected by the overlapping preliminary

injunctions, including the one issued in this case. See Joyner Order 4-5.

        Finally, Plaintiff’s “debt forgiveness” claims in counts two and three of his Complaint, which

provide the sole distinction between this case and Miller and Joyner, see Joyner Order 4 n.1, 7 are now

subject to a jurisdictional motion to dismiss, see Defs.’ Mot. to Dismiss. As Defendants argue in that

motion, the Court lacks subject-matter jurisdiction over those claims for several reasons—includ ing

because Plaintiff lacks Article III standing—but Plaintiff would fail to state a claim even if counts two

and three were properly before this Court. See generally id. And apart from those claims, there is no

distinction between Joyner and this case that would warrant a stay there but not here. Thus, the pending

jurisdictional motion to dismiss is an additional factual change that warrants reconsideration of the

stay motion. At the very least, the Court should stay all proceedings apart from the litigation on the

motion to dismiss, which would ensure that “Plaintiff’s claim[s] concerning eligibility for future loans”

are addressed, Stay Order 3, while at the same time allowing Plaintiff to participate in the class action



7
  Indeed, Plaintiff did not argue in his brief opposing a stay that his § 1005 claim is distinct from the
one asserted in Miller. Rather, he asserted that he may not agree with every form of relief that may be
sought by the classes—namely, expansion of § 1005 to grant relief to Plaintiff—if the Miller Court
concludes that § 1005 as currently implemented is unconstitutional. Pl.’s Opp’n at 10-11. But questions
of proper relief are not yet before any court, including Miller. See, e.g., Miller, Stipulation ¶ 6, ECF No.
83 (stating that the parties will “separately brief the appropriate remedy” if the court rules in plaintiff’s
favor on the merits). And this Court in Joyner rejected the plaintiff’s contention that the specific remedy
he sought provided a basis for denying a stay there. Joyner Order 4. Moreover, as previously stated,
nothing precludes Plaintiff from attempting to influence the arguments made in Miller, either now or
if and when remedies are at issue, through intervention or other procedural mechanisms. Id. at 6.


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litigation over his § 1005 claim through intervention or other procedures, Joyner Order 5 (noting the

availability of intervention or other mechanisms to influence the court of the litigation); infra Part II.

But staying the case altogether makes even more sense. As further stated in the motion to dismiss,

these additional claims may be mooted if the Miller court determines that § 1005 is unconstitutional.

Defs.’ Mot. to Dismiss 13 n.5, ECF No. 57. Thus, even setting aside the jurisdictional issues,

continuing litigation here solely based on the existence of those claims may well result in unnecessary

time and expense to the parties and the Court.

        Each of the above events occurring since this Court’s August 2 denial of Defendants’ stay

motion—(1) the Court’s stay order in Joyner reflecting that Plaintiff’s claim is being litigated in multiple

courts given his membership in the mandatory Rule 23(b)(2) classes; (2) the Miller court’s order

denying other plaintiffs’ motion to opt out; (3) the Miller court’s recent scheduling order demonstrating

that litigation would proceed there apace with this one, thus addressing any concerns over delayed

adjudication of Plaintiff’s claim; and (4) Defendants’ motion to dismiss showing that the Court lacks

subject-matter jurisdiction over the only claims distinguishing this case from Joyner and Miller—

warrants revisiting that denial. For any and all of the above reasons, the Court should reconsider its

prior decision and stay this case pending resolution of the Miller class action.

II.     The Court Should Stay Discovery And Defer Entry Of Case Deadlines Pending
        Resolution of Defendants’ Jurisdictional Motion to Dismiss Counts Two and Three of
        the Complaint.

        If the Court is not inclined to revisit its prior order and enter a stay at this time, it should still

stay discovery and defer entering case deadlines until after resolution of Defendants’ jurisdictional

motion to dismiss. “Trial courts have broad discretion and inherent power to stay discovery until

preliminary questions that may dispose of the case are determined.” Hahn v. Star Bank, 190 F.3d 708,

719 (6th Cir. 1999) (citing Landis v. North Am. Co., 299 U.S. 248, 254–55 (1936)); Kareem v. JPMorgan

Chase Bank, N.A., No. 15-4387, 2016 WL 9405838, at *2 (6th Cir. Nov. 21, 2016) (“A court has the



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discretion to stay discovery until questions that may dispose of the case, including a motion to dismiss

for failure to state a claim, are determined.” (citing Hahn, 190 F.3d at 719)). “[W]hen considering a

motion to stay discovery, ‘a court weighs the burden of proceeding with discovery upon the party

from whom discovery is sought against the hardship which would be worked by a denial of

discovery.’” Clippinger v. State Farm Mut. Auto. Ins. Co., No. 2:20-cv-02482-TLP-cgc, 2021 WL 1894821,

at *1 (W.D. Tenn. Apr. 22, 2021) (quoting Bowens v. Columbus Metro. Libr. Bd. of Trs., No. 2:10-cv-00219,

2010 WL 3719245, at *1 (S.D. Ohio Sept. 16, 2010)). While the party seeking relief from discovery

bears the burden of showing it is appropriate, that burden is “is lighter” when the party “seeks a stay,

rather than a prohibition, of discovery.” Wright v. Blair, No. CV 10-2304, 2010 WL 11452308, at *1

(W.D. Tenn. June 22, 2010) (quoting Rothstein v. Steinberg, No. 5:08CV0673, 2008 WL 5716138, at *3

(N.D. Ohio June 9, 2008)).

        If granted, Defendants’ motion to dismiss would dispose of two of the claims in this case.

And once those claims are dismissed, the only remaining claim will be Plaintiff’s equal protection

challenge to § 1005. For the reasons outlined in Joyner, any litigation on that claim should be stayed

pending resolution of the duplicative litigation in the class action in the Northern District of Texas to

which Plaintiff belongs. Thus, the Court should exercise its broad discretion and stay all discovery and

defer entry of all case deadlines in this case aside from the parties’ agreed briefing schedule on

Defendants’ motion to dismiss; but at a minimum, the Court should stay discovery related to Plaintiff’s

debt forgiveness claims at counts two and three of the Complaint pending resolution of Defendants’

jurisdictional motion to dismiss.

        For starters, Defendants filed a dispositive motion for which discovery is unnecessary, and

“[s]tays are favored where a case can be resolved ‘based on legal determinations that could not be

altered by any further discovery.’” Lubinski v. Hub Grp. Trucking, Inc., No. 2:14-CV-02843-JPM, 2015

WL 4603878, at *1 (W.D. Tenn. July 30, 2015) (quoting Muzquiz v. W.A. Foot Mem’l Hosp., Inc., 70 F.3d



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422, 430 (6th Cir. 1995)); Osborn v. Griffin, No. CV 11-89-WOB-CJS, 2011 WL 13156649, at *1 (E.D.

Ky. Dec. 9, 2011) (“[L]imitations on discovery are particularly appropriate when the claims at issue

may be dismissed based on legal or procedural determinations for which discovery is not necessary.”).

A week before the October 7 scheduling conference, counsel for Plaintiff sent counsel for Defendants

requests for production, requests for admission, and interrogatories. But none of the information

sought in those requests is relevant to any of the issues raised in Defendants’ motion to dismiss.

Discovery is not necessary to resolve the Court’s jurisdiction—specifically, whether Plaintiff has

Article III standing and whether his claims are ripe for judicial review. Nor is discovery necessary to

resolve the remaining issues which turn on statutory interpretation—specifically, whether any statute

grants Plaintiff a private right of action to bring his claims and whether, on the merits, § 1005 relief

falls within the statutory definition of “debt forgiveness.” That discovery has no bearing on these legal

issues weighs in favor of a stay pending resolution of the motion to dismiss. See Lani v. Schiller Kessler

& Gomez, PLLC, No. 3:16-CV-00819-GNS, 2017 WL 3092098, at *2 (W.D. Ky. Apr. 4, 2017)

(granting a stay of discovery when the defendants moved to dismiss for lack of subject matter

jurisdiction and plaintiff had no need for discovery to respond to that motion). Indeed, Plaintiff’s need

for discovery is dubious even on the merits of Plaintiff’s equal protection challenge to § 1005. See Tiegs

Stay Order 5 (“[I]t is unclear what facts plaintiffs intend to discover” that would be relevant to their

“facial” “challenge to section 1005”).

        Moreover, because Defendants’ motion to dismiss raises several challenges to the Court’s

subject-matter jurisdiction, a stay of discovery is especially appropriate. “Challenges to the court’s

personal or subject-matter jurisdiction should take priority.” In re Copper Tubing Litig., No. 04-2771

DV, 2006 WL 8434911, at *4 (W.D. Tenn. Oct. 3, 2006) (quoting Manual for Complex Litigation (4th

ed.) § 11.32 (2004)). Jurisdiction “is a threshold issue that must be present to support any subsequent

order of the district court,” Citizens Bank v. Parnes, 376 F. App’x 496, 501 (6th Cir. 2010), including



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discovery orders, Lewis v. Loftin, No. 16-2726-DKV, 2017 WL 5505337, at *1–2 (W.D. Tenn. Mar. 1,

2017) (court should determine whether it had jurisdiction before entering discovery orders). As the

Supreme Court has put it, “[t]he requirement that jurisdiction be established as a threshold matter

springs from the nature and limits of the judicial power of the United States and is inflexible and

without exception,” and therefore “[w]ithout jurisdiction the court cannot proceed at all in any cause.”

Steel Co. v. Citizens for a Better Env’t, 523 U.S. 83, 94-95 (1998) (citations omitted).

        Thus, it is common for courts in this district (and others) to stay discovery while resolving

questions concerning the court’s power to exercise jurisdiction over a case. See In re Copper Tubing Litig.,

2006 WL 8434911, at *4 (citing cases in the Southern District of New York, the Southern District of

Iowa, and the Western District of Louisiana); see also Lani, No. 2017 WL 3092098, at *2 (granting a

stay of discovery when the defendants moved to dismiss for lack of subject matter jurisdiction and

plaintiff had no need for discovery to respond to that motion); Lewis v. Loftin, 2017 WL 5505337, at

*1–2 (staying discovery pending motion to dismiss for lack of personal jurisdiction); Victoria’s Secret

Stores Brand Mgmt., Inc. v. Bob’s Stores LLC, No. 2:13-CV-1261, 2014 WL 1045994, at *2 (S.D. Ohio

Mar. 17, 2014) (“[B]ecause personal jurisdiction is a threshold issue that determines whether a court

has the power to bind the defendant, the nature of the pending motion in this case supports a stay of

merits discovery.”); Ohio Power Co. v. Frontier N. Inc., No. 2:14-CV-341, 2014 WL 12586318, at *3 (S.D.

Ohio Oct. 30, 2014) (staying discovery pending resolution of a jurisdictional motion to dismiss because

the motion, if granted, would divest the court of jurisdiction and dispose of the entire case, and

discovery would not alter the outcome of the jurisdictional motion to dismiss); Sentell v. Tennessee, No.

3:12-CV-593, 2013 WL 3297124, at *1-2 (E.D. Tenn. June 28, 2013) (staying discovery when the

defendants asserted immunity from suit, which “defenses, if true, may support dismissing the matter

in whole, and as a matter of law, their defenses should be addressed before discovery proceeds”). Cf.




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Siegert v. Gilley, 500 U.S. 226, 231 (1991) (“[D]iscovery should not be allowed” until “threshold

immunity question is resolved”).

        These principles plainly support a stay of discovery related to Plaintiff’s “debt forgiveness”

claims at counts two and three of the Complaint. Neither the Court’s nor the parties’ time is well

served by engaging in a “struggle over the substance of the suit” when a jurisdictional motion is

pending. Democratic Republic of Congo v. FG Hemisphere Assocs., LLC, 508 F.3d 1062, 1064 (D.C. Cir.

2007) (jurisdictional defenses should be raised at the outset to avoid unnecessary litigation). Staying

discovery now would avoid potentially unnecessary burden and expense on the parties and the Court.

See Lewis, 2017 WL 5505337, at *1–2 (“it makes no sense for” courts to adjudicate discovery disputes

“without first determining if [they] have the power to bind the parties” (citing Victoria’s Secret, 2014

WL 1045994, at *2). Indeed, as courts in this district recognize, staying discovery pending resolution

of dispositive motions—especially those challenging jurisdiction—“is an eminently logical means to

prevent wasting the time and effort of all concerned, and to make the most efficient use of judicial

resources.” In re Copper Tubing Litig., 2006 WL 8434911, at *3 (quoting Chavous v. D.C. Fin. Resp. &

Mgmt. Assistance Auth., 201 F.R.D. 1, 2 (2001)) (also noting that “Rule 1 states that the Federal Rules

of Civil Procedure ‘shall be construed and administered to secure the just, speedy, and inexpensive

determination of every action”’).

        But for additional reasons specific to this case, a stay of discovery on all claims—and a

corresponding deferral of any case deadlines—is appropriate here. Apart from the two claims that are

the subject of Defendants’ jurisdictional motion, the only claim Plaintiff raises here is identical to the

claim raised in Joyner. Thus, if the Court dismisses claims two and three, there will be no distinction

between Joyner and this case that would warrant a stay there but not here. The only claim Plaintiff

would be litigating at that point would be the § 1005 claim that is already being litigated on his behalf

in the Northern District of Texas. But as this Court recognized in Joyner, because Plaintiff is a member



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of the classes—and because he has no opportunity to opt out and indeed has not even attempted to

do so—his interests are already being adequately represented by counsel “zealously pursuing the

requested relief.” Joyner Stay Order 5. Moreover, although Plaintiff’s need for discovery on his facial

challenge to § 1005 is dubious in any event, see id.; Tiegs Order 5, Plaintiff can seek to intervene in Miller

and seek discovery there should he believe discovery is necessary to resolve the classes’ equal

protection claim, McKinney Order 3-4. Notwithstanding the fact that Defendants’ motion to dismiss,

if granted, would only dispose of some of the claims in this case, duplicative litigation of the only other

claim that would remain warrants a stay of discovery on that claim as well. It would waste the Court’s

and the parties’ resources to permit discovery over a claim that is already being litigated on behalf of

Plaintiff in another Court, along the same schedule as is contemplated here.

        Thus, the Court should stay discovery on all claims in this case and defer entering a scheduling

order until after the Court resolves the motion to dismiss. The Court may then revisit whether the

case should go forward—on all claims, on only the § 1005 claim, or on none of the claims—after

resolving the threshold jurisdictional questions raised in the motion to dismiss.

                                             CONCLUSION

        For the foregoing reasons, the Court should reconsider its prior stay decision and stay this

case in its entirety pending resolution of the certified class action in Miller. Alternatively, the Court

should stay discovery and defer setting any case deadlines aside from the parties’ agreed briefing

schedule on the motion to dismiss until after that motion is resolved. If the Court is not inclined to

do either of the above, it should stay any discovery related to the “debt forgiveness” claims in counts

two and three of Plaintiff’s Complaint until after the Court determines that it has subject-matter

jurisdiction over those claims.

DATE: October 15, 2021                            Respectfully submitted,

                                                  JOSEPH C. MURPHY, JR.



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                                                 Acting United States Attorney

                                                 s/ Audrey M. Calkins
                                                 Audrey M. Calkins (TN BPR # 030093)
                                                 Audrey.calkins@usdoj.gov
                                                 167 N. Main Street, Suite 800
                                                 Memphis, TN 38103
                                                 901-544-4231
                                                 Fax: 901-544-4230

                                                 BRIAN M. BOYNTON
                                                 Acting Assistant Attorney General

                                                 LESLEY FARBY
                                                 Assistant Branch Director
                                                 Civil Division, Federal Programs Branch

                                                 /s/ Kyla M. Snow
                                                 EMILY SUE NEWTON (VA Bar No. 80745)
                                                 Senior Trial Counsel
                                                 KYLA M. SNOW (Ohio Bar No. 96662)
                                                 Trial Attorney
                                                 United States Department of Justice
                                                 Civil Division, Federal Programs Branch
                                                 1100 L Street, NW
                                                 Washington, D.C. 20005
                                                 Tel: (202) 514-3259 / Fax: (202) 616-8460
                                                 Kyla.snow@usdoj.gov

                                                 Counsel for Defendants


                             CERTIFICATE OF CONSULTATION

        I certify that on October 14, 2021, counsel for Defendants, Kyla Snow, conferred with counsel

for Plaintiff, Braden Boucek, via email regarding this Motion and that on October 15, counsel for

Plaintiff indicated that Plaintiff will oppose this Motion.

                                                                  /s/ Kyla M. Snow




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                                CERTIFICATE OF SERVICE

       I hereby certify that on October 15, 2021, the foregoing Motion was filed electronically via

the Court’s ECF system, which effects service upon counsel of record.


                                                      /s/ Kyla M. Snow
                                                      KYLA M. SNOW
                                                      Trial Attorney, U.S. Department of Justice
